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  15
                          UNITED STATES DISTRICT COURT
  16                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  17
  18   Center for Biological Diversity, a      Case No. 3:17-cv-01215-GPC-WVG
  19   non-profit organization;
                                               Second Amended Complaint for
  20         Plaintiff,                        Declaratory and Injunctive Relief

  21
             v.
  22
  23   U.S. Department of Homeland
       Security; U.S. Customs and Border
  24   Protection; and Elaine Duke, in her
  25   official capacity as Acting
       Secretary, U.S. Department of
  26   Homeland Security,
  27
             Defendants.
  28

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   1                                     INTRODUCTION
   2         1.     In this action for declaratory and injunctive relief, Plaintiff Center for
   3   Biological Diversity (“the Center”)—an environmental conservation organization
   4   that works to protect native wildlife species and their habitats—challenges the
   5   failure of the U.S. Department of Homeland Security (“DHS”) and U.S. Customs
   6   and Border Protection (“CBP”) (collectively, “the Agencies” or “Federal
   7   Defendants”) to comply with the requirements of the National Environmental
   8   Policy Act (“NEPA”), 42 U.S.C. § 4321 et seq., the Endangered Species Act
   9   (“ESA”), 16 U.S.C. § 1531 et seq., and the Freedom of Information Act (“FOIA”),
  10   5 U.S.C. § 552, in relation to border wall construction projects in San Diego
  11   County, including: (1) the border wall prototype project, which would also serve
  12   as the first new segment of border barrier built in California in several years
  13   (“border wall prototype project”); and (2) the replacement of the westernmost
  14   portion of the existing border fence (14 miles of existing primary and double layer
  15   border fencing running from the Pacific Ocean to the eastern edge of Otay Mesa)
  16   (“border wall replacement project”).
  17         2.     The border wall prototype project and border wall replacement
  18   project are each federal actions that will impact the environment as well as several
  19   threatened and endangered species, and are thus subject to the procedural and
  20   substantive requirements of NEPA and the ESA, respectively.
  21         3.     Federal Defendants have not provided the Center or the general
  22   public with notice or opportunity to comment under NEPA for the border wall
  23   prototype project or border wall replacement project. Indeed, the Agencies have
  24   not prepared any NEPA or ESA analysis for either the border wall prototype
  25   project or the border wall replacement project.
  26         4.     Although NEPA does not require a plaintiff to provide federal
  27   agencies with notice of alleged violations prior to filing suit, on June 1, 2017, the
  28   Center wrote to the Agencies to provide notice of NEPA violations in relation to
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   1   the border wall prototype project.     The Agencies have not acknowledged or
   2   responded to this Notice.
   3         5.     In addition, on June 1, 2017, the Center also provided the Agencies
   4   with formal notice of violations of the ESA for their failure to consult with U.S.
   5   Fish and Wildlife Service (“FWS”) in order to ensure that the border wall
   6   prototype project does not jeopardize the continued existence of threatened or
   7   endangered species, or result in the destruction or adverse modification of their
   8   critical habitat. Similarly, on July 7, 2017, the Center provided the Agencies with
   9   formal notice of ESA violations for their failure to consult with FWS in relation to
  10   the border wall replacement project. Federal Defendants have failed to remedy
  11   the alleged ESA violations during the 60-day notice period, and thus this second
  12   amended complaint includes those violations.
  13         6.     In light of the Agencies’ failure and/or refusal to provide the public
  14   with any information regarding their compliance with NEPA, the ESA, and other
  15   environmental laws in relation to the border wall prototype project, on May 2,
  16   2017, the Center submitted two requests for public records pursuant to FOIA, one
  17   to DHS and one to CBP, seeking records pertaining to the Agencies’ NEPA
  18   environmental analysis, as well as compliance with other environmental laws, for
  19   the border wall prototype project.
  20         7.     Defendants have violated FOIA, or alternatively, the Administrative
  21   Procedure Act, 5 U.S.C. §§ 701-706 (“APA”), with respect to the Center’s May 2,
  22   2017 FOIA requests for records related to the Agencies’ compliance with NEPA
  23   and other laws in relation to the border wall prototype project. Although the
  24   Agencies have acknowledged their receipt of the FOIA requests, they have failed
  25   to provide any responsive records or state when they might do so. Accordingly,
  26   the Agencies are unlawfully withholding the records by failing to search for and
  27   provide all responsive records.
  28         8.     On August 2, 2017—approximately a month and a half after the
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   1   filing of this case—former DHS Secretary John Kelly issued a Determination in
   2   the Federal Register purporting to waive the application of NEPA, the ESA, the
   3   APA, and more than 30 additional laws not at issue in this lawsuit, to “various
   4   border infrastructure projects” in “an approximately fifteen mile segment of the
   5   border within the San Diego Sector that starts at the Pacific Ocean and extends
   6   eastward,” pursuant to section 102(c) of the Illegal Immigration Reform and
   7   Immigrant Responsibility Act of 1996 (“IIRIRA”). Codified at 8 U.S.C. § 1103
   8   note. Determination Pursuant to Section 102 of the Illegal Immigration Reform
   9   and Immigrant Responsibility Act of 1996, As Amended, 82 Fed. Reg. 35,984.
  10   According to the Federal Register determination, the specific “border
  11   infrastructure projects” subject to the purported waiver include the border wall
  12   prototype project and the border wall replacement project at issue in this litigation.
  13   Id.
  14         9.     IIRIRA section 102(c)(1) provides that “[n]otwithstanding any other
  15   provision of law, the Secretary of Homeland Security shall have the authority to
  16   waive all legal requirements to ensure expeditious construction of the barriers and
  17   roads under this section.” Once a waiver determination is issued, IIRIRA sections
  18   102(c)(2)(A)-(C) restrict judicial review by providing federal district courts with
  19   exclusive jurisdiction to hear all causes of action or claims arising from a waiver,
  20   purporting to limit such causes of action or claims to those alleging a violation of
  21   the Constitution of the United States, requiring such causes of action or claims to
  22   be brought not later than 60 days after the DHS Secretary’s waiver determination,
  23   and eliminating appellate court review of the district court decision regarding
  24   constitutional claims, and instead only permitting plaintiffs to seek review of the
  25   district court decision on constitutional claims through a petition for writ of
  26   certiorari to the U.S. Supreme Court.
  27         10.    As a threshold matter, Plaintiff Center for Biological Diversity
  28   challenges former DHS Secretary Kelly’s August 2, 2017 waiver determination as
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   1   ultra vires, because the determination was outside of the scope of authority vested
   2   in the DHS Secretary pursuant to IIRIRA section 102(c). Specifically, neither the
   3   border wall prototype project nor the border wall replacement project is among
   4   “the barriers and roads” subject to IIRIRA section 102(c) waivers. Federal courts
   5   are empowered to consider challenges to ultra vires executive actions despite
   6   language limiting or precluding statutory judicial review such as that found under
   7   IIRIRA section 102(c). See, e.g., Dart v. United States, 848 F.2d 217, 224 (D.C.
   8   Cir. 1998) (“[T]he Veterans’ Administrator cannot issue oil drilling permits—nor
   9   can the Secretary of Labor rescind television licenses—and expect to escape
  10   judicial review by hiding behind a finality clause.”).
  11         11.    In addition, Plaintiff Center for Biological Diversity alleges that the
  12   DHS Secretary’s August 2, 2017 waiver determination, and the waiver authority
  13   provided by IIRIRA section 102(c) generally, violate the U.S. Constitution in
  14   several respects, including the Take Care Clause, the Separation of Powers
  15   Doctrine, the Non-Delegation Doctrine, and the Presentment Clause.
  16                                    JURISDICTION
  17         12.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §§
  18   1331 and 1346, 5 U.S.C. §§ 701 to 706, 8 U.S.C. § 1103 note, and 5 U.S.C. §
  19   552(a)(4)(B). The causes of action arise under the laws of the United States,
  20   including NEPA, the ESA, FOIA, the APA, and IIRIRA, and the implementing
  21   regulations established pursuant to these federal statutes, and the U.S.
  22   Constitution. The relief requested is authorized pursuant to 28 U.S.C. §§ 1651
  23   and 2201 to 2202, and 5 U.S.C. §§ 705 and 706.
  24                                         VENUE
  25         13.    Venue is proper in this judicial district pursuant to 28 U.S.C. §
  26   1391(b) and (e), because the violations are occurring here, and a substantial part
  27   of the events or omissions giving rise to the claims have occurred in this district
  28   due to decisions made by Federal Defendants, and/or failure(s) to act by Federal
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   1   Defendants. In addition, venue is proper in this judicial district pursuant to 5
   2   U.S.C. § 552(a)(4)(B), which provides venue for FOIA cases in this district,
   3   because a portion of the responsive records may be found in this district.
   4                                       PARTIES
   5         14.    Plaintiff Center for Biological Diversity is a non-profit environmental
   6   organization dedicated to the protection of native species and their habitats
   7   through science, policy, and environmental law. The Center has more than 1.5
   8   million members and online activists. The Center is headquartered in Tucson,
   9   Arizona, and has offices in Los Angeles and Oakland in California, as well as
  10   numerous additional regional offices located throughout the country, and an
  11   international office in Baja California Sur, Mexico.
  12         15.    The Center’s members and staff live in or regularly visit the U.S.-
  13   Mexico borderlands region in San Diego County, as well as the borderlands
  14   region of Baja California Norte, Mexico.        The Center’s members and staff
  15   regularly use the myriad federal, state, and local protected lands along the U.S.-
  16   Mexico border in San Diego County, including areas impacted by and/or adjacent
  17   to the location of the border wall prototype project and the border wall
  18   replacement project, for hiking, camping, viewing and studying wildlife,
  19   photography, and other vocational and recreational activities.        The Center’s
  20   members and staff derive recreational, spiritual, professional, scientific,
  21   educational, and aesthetic benefit from their activities in these areas. The Center
  22   has a long history of environmental advocacy within the borderlands region
  23   generally and San Diego County borderlands region specifically. The Center’s
  24   members and staff have specific intentions to continue to use and enjoy these
  25   areas frequently and on an ongoing basis in the future.
  26         16.    The Center has an established track record of active participation in
  27   the oversight of government activities and decision-making as well as consistent
  28   practice of informing, educating, and counseling the public regarding
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   1   environmental issues, policies, and laws relating to environmental issues. The
   2   Center has displayed its ability to disseminate information obtained pursuant to
   3   FOIA to the general public through far-reaching media, including news media, the
   4   Center’s website and newsletters, and social media. The Center and its members
   5   are harmed by Federal Defendants’ FOIA violations as they preclude the Center
   6   from gaining a comprehensive understanding of the activities, decisions, priorities,
   7   and communications related to the border wall prototype project and border wall
   8   replacement project.
   9         17.     The Center has worked for nearly two decades to oppose
  10   environmentally harmful border fencing and other harmful border security
  11   projects along the U.S.-Mexico border generally, and the San Diego region
  12   specifically. The Center also has a long history of advocating for the protection of
  13   rare wildlife habitat that would be impacted by the San Diego border wall
  14   prototype and border wall replacement project, as well as advocating for specific
  15   species that would be harmed by the San Diego border wall prototype and border
  16   wall replacement project, including the western snowy plover, California least
  17   tern, Quino checkerspot butterfly, San Diego and Riverside fairy shrimp, and
  18   coastal California gnatcatcher.
  19         18.    The Center and its members’ interests are harmed by Defendants’
  20   violations of NEPA and the ESA. The proposed border wall prototype project and
  21   border wall replacement project will result in construction of border barriers
  22   where none currently exist (in the case of the prototypes), and the construction of
  23   new border wall that is much higher and more impermeable than currently
  24   existing border fencing. The border wall replacement project will entail a massive
  25   construction operation with associated noise, lighting, and other impacts, and
  26   which will likely necessitate new land clearing, grading, staging, and other
  27   associated activities that will impact the surrounding environment. The violations
  28   of NEPA and the ESA, and the construction which will occur without the benefit
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   1   of compliance with these laws, will negatively impact the wildlife habitat and
   2   imperiled species described above, which will injure the Center and its members’
   3   aesthetic, conservation, recreational, scientific, educational, and wildlife
   4   preservation interests in those habitats and species. These injuries would be
   5   redressed by the requested relief directing Defendants to comply with those laws.
   6         19.    The Center and its members are harmed by the Agencies’ violations
   7   of FOIA, or alternatively the APA, as well as its violations of NEPA, pertaining to
   8   public notice and participation, as such violations will result in harm to the Center
   9   and its members’ interests, and will preclude the Center and its members from
  10   gaining a full understanding of the activities, decisions, priorities, and
  11   communications related to the border wall prototype project and border wall
  12   replacement project.
  13         20.    The Center and its members are harmed by former DHS Secretary
  14   Kelly’s August 2, 2017 Determination under IIRIRA section 102(c) purporting to
  15   waive NEPA, the ESA, the APA, and more than 30 additional laws not at issue in
  16   this litigation. In waiving these laws, the August 2, 2017 Determination will
  17   allow the border wall prototype and border wall replacement projects to proceed
  18   without any compliance with NEPA and the ESA. The absence of environmental
  19   law compliance will negatively impact the wildlife habitat and imperiled species
  20   described above, which will injure the Center and its members’ aesthetic,
  21   conservation, recreational, scientific, educational, and wildlife preservation
  22   interests in those habitats and species. These injuries would be redressed by the
  23   requested relief to void the waiver determination as inapplicable and
  24   unconstitutional, and directing Defendants to comply with NEPA, the ESA, and
  25   all other applicable laws. The August 2, 2017 Determination will also result in
  26   harm to the Center and its members’ interests by precluding the application of
  27   NEPA, the ESA, and the APA, which will preclude public notification and
  28   transparency.
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   1         21.    Defendant DHS is an agency within the executive branch of the U.S.
   2   government. DHS is responsible for ensuring border security along the U.S.-
   3   Mexico border consistent with applicable legal requirements, including NEPA and
   4   the ESA. In addition, DHS is in possession and control of the records that the
   5   Center seeks under FOIA, and as such, it is subject to FOIA pursuant to 5 U.S.C.
   6   § 552(f).
   7         22.    Defendant CBP is an agency within DHS. CBP is responsible for
   8   ensuring border security along the U.S.-Mexico border consistent with applicable
   9   legal requirements, including NEPA and the ESA.              In addition, CBP is in
  10   possession and control of the records that the Center seeks under FOIA, and as
  11   such, it is subject to FOIA pursuant to 5 U.S.C. § 552(f).
  12         23.    Defendant Elaine Duke, Acting DHS Secretary, is sued in her official
  13   capacity.   Acting Secretary Duke is the official ultimately responsible under
  14   federal law for ensuring that the actions and management decisions of DHS
  15   comply with all applicable laws and regulations. Acting Secretary Duke’s
  16   predecessor, former DHS Secretary John Kelly, invoked the IIRIRA section
  17   102(c) waiver in relation to the border wall prototype project and border wall
  18   replacement project on August 2, 2017.
  19                               LEGAL BACKGROUND
  20   A.    NEPA
  21         24.    NEPA is the “basic national charter for protection of the
  22   environment.” 40 C.F.R. § 1500.1(a)(1978). It was enacted with the ambitious
  23   objectives of “encouraging productive and enjoyable harmony between man and
  24   his environment . . . promoting efforts which will prevent or eliminate damage to
  25   the environment and biosphere and stimulating the health and welfare of man; and
  26   enriching the understanding of the ecological systems and natural resources
  27   important to the Nation . . . .” 42 U.S.C. § 4321.
  28         25.     In order to achieve these goals, NEPA contains several “action
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    1   forcing” procedures, most significantly the mandate to prepare an environmental
    2   impact statement (“EIS”) on major Federal actions “significantly affecting the
    3   quality of the human environment.”          Robertson v. Methow Valley Citizens
    4   Council, 490 U.S. 332, 348 (1989); 42 U.S.C. § 4332(2)(C).
    5         26.   The Council on Environmental Quality (“CEQ”) was created to
    6   administer NEPA and has promulgated NEPA regulations, which are binding on
    7   all federal agencies. See 42 U.S.C. §§ 4342, 4344; 40 C.F.R. §§ 1500–1508
    8   (1978).
    9         27.   When a federal agency is not certain whether an EIS is required, it
   10   must prepare a briefer document, known as an environmental assessment (“EA”).
   11   40 C.F.R. § 1508.9 (1978). If the agency concludes in an EA that a project may
   12   have significant impacts on the environment, then an EIS must be prepared. 40
   13   C.F.R. § 1501.4 (1978). If an EA concludes that there are no significant impacts
   14   to the environment, the federal agency must provide a detailed statement of
   15   reasons why the project’s impacts are insignificant and issue a Finding of No
   16   Significant Impact (“FONSI”). 40 C.F.R § 1508.13 (1978).
   17         28.   The Supreme Court has found that the preparation and public
   18   circulation of EISs and EAs promotes NEPA’s broad environmental objectives in
   19   two primary ways: “It ensures that the agency, in reaching its decision, will have
   20   available, and will carefully consider, detailed information concerning significant
   21   environmental impacts; it also guarantees that the relevant information will be
   22   made available to the larger audience that may also play a role in both the
   23   decision-making process and the implementation of that decision.”         Methow
   24   Valley Citizens Council, 490 U.S. at 349.
   25         29.   NEPA requires that “agencies shall integrate the NEPA process with
   26   other planning at the earliest possible time to insure that planning and decisions
   27   reflect environmental values, to avoid delays later in the process, and to head off
   28   potential conflicts.” 40 C.F.R. § 1501.2 (1978); id. § 1502.5 (1978) (“An agency
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    1   shall commence preparation of an [EIS] as close as possible to the time the agency
    2   is developing or is presented with a proposal . . .”). The Ninth Circuit has
    3   interpreted these regulations as requiring the NEPA process to be conducted
    4   “before any irreversible and irretrievable commitment of resources.” Connor v.
    5   Burford, 848 F.2d 1441, 1446 (9th Cir. 1998).
    6         30.   DHS has not promulgated regulations to implement NEPA, but has
    7   issued an Instruction Manual. Instruction Manual 023-01-001-01, Revision 01,
    8   Implementation of NEPA (Nov. 6, 2014) (“DHS NEPA Manual”). The Manual
    9   specifically includes “proposed construction, land use, activity, or operation that
   10   has the potential to significantly affect environmentally sensitive areas” as an
   11   action “normally requiring” the preparation of at least an EA.
   12         31.   Echoing the general NEPA requirements regarding the need to
   13   conduct NEPA early in the process, the DHS NEPA Manual directs DHS to
   14   “integrate[] the NEPA process with other planning efforts at the earliest possible
   15   stage so that environmental factors are considered with sufficient time to have a
   16   practical influence on the decision-making process before decisions are made.”
   17   DHS NEPA Manual, at p. IV-1. The Manual directs that agency components that
   18   process applications for DHS funding or approval, such as the contracts that have
   19   been and/or will be issued for the border wall prototype project and the border
   20   wall replacement project, “have a responsibility to integrate NEPA requirements
   21   early in the application process,” and to ensure that “completion of the NEPA
   22   process occurs before making a decision to approve” the proposal.
   23         32.   Other agencies which commonly contract with private entities to
   24   build public construction projects, such as the border wall prototype project and
   25   border wall replacement project, have also promulgated regulations specifying
   26   that NEPA must be completed as early as possible in the contracting or
   27   procurement process and requiring that NEPA’s environmental and mitigation
   28   measures must be incorporated into the contract. See, e.g., 23 C.F.R. § 635.505(b)
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    1   (2016) (Department of Transportation (“DOT”) contracting agency “shall not
    2   perform or contract for construction services (including early work packages of
    3   any kind) prior to the completion of the NEPA process”); id. § 635.505(h) (2016)
    4   (DOT contract “must include appropriate provisions ensuring that all
    5   environmental and mitigation measures identified in the NEPA documentation
    6   and committed to in the NEPA determination for the selected alternative will be
    7   implemented.”); 10 C.F.R. § 1021.216(i) (1992) (Department of Energy agencies
    8   shall complete NEPA “before taking any action pursuant to the contract or award
    9   of financial assistance.”).
   10         33.    NEPA requires that the Agencies involve the public in preparing and
   11   considering environmental documents that implement the Act.            40 C.F.R. §
   12   1506.6; id. § 1506.6(b)(1) (1978) (requiring federal agencies to “[p]rovide public
   13   notice of NEPA-related hearings, public meetings, and the availability of
   14   environmental documents so as to inform those persons and agencies who may be
   15   interested or affected”).
   16         34.     The CEQ regulations further direct federal agencies to “insure that
   17   environmental information is available to public officials and citizens before
   18   decisions are made,” and mandate that “public scrutiny [is] essential to
   19   implementing NEPA.” 40 C.F.R. § 1500.1(b) (1978).
   20         35.    The Ninth Circuit has held that a “complete failure to involve or even
   21   inform the public” about the agency’s preparation of a NEPA document violates
   22   the statute’s public participation requirements. Citizens for Better Forestry v. U.S.
   23   Dep’t of Agric., 341 F.3d 961, 970 (9th Cir. 2003); see also Brodsky v. Nuclear
   24   Regulatory Comm’n, 704 F.3d 113, 122 (2nd Cir. 2013) (“The record before us
   25   fails to provide any agency explanation for why no public participation was
   26   deemed practicable or appropriate with respect to the challenged exemption.”)
   27   (emphasis in original).
   28         36.    Underlying all of NEPA’s procedural requirements is the mandate
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    1   that agencies take a ‘hard look’ at all of the environmental impacts and risks of a
    2   proposed action.     As stated by the Ninth Circuit, “general statements about
    3   ‘possible effects’ and ‘some risk’ do not constitute a ‘hard look’ absent a
    4   justification regarding why more definitive information could not be provided.”
    5   Blue Mountains Biodiversity Project v. Blackwood, 161 F.3d 1208, 1213 (9th Cir.
    6   1998) (internal citations omitted).
    7   B.    Endangered Species Act
    8         37.     The ESA, 16 U.S.C. §§ 1531–1544, is “the most comprehensive
    9   legislation for the preservation of endangered species ever enacted by any nation.”
   10   TVA v. Hill, 437 U.S. 153, 180 (1978). Its fundamental purposes are “to provide a
   11   means whereby the ecosystems upon which endangered species and threatened
   12   species depend may be conserved [and] to provide a program for the conservation
   13   of such endangered species and threatened species . . . .” 16 U.S.C. § 1531(b).
   14         38.     To achieve these objectives, the ESA directs the Secretary of the
   15   Interior, through the FWS, to determine which species of plants and animals are
   16   “threatened” and “endangered” and place them on the list of protected species. Id.
   17   § 1533. An “endangered” or “threatened” species is one “in danger of extinction
   18   throughout all or a significant portion of its range,” or “likely to become
   19   endangered in the near future throughout all or a significant portion of its range,”
   20   respectively. Id. § 1532(6), (20).
   21         39.     Once a species is listed, the ESA provides a variety of procedural and
   22   substantive protections to ensure not only the species’ continued survival, but its
   23   ultimate recovery, including the designation of critical habitat, the preparation and
   24   implementation of recovery plans, the prohibition against the “taking” of listed
   25   species, and the requirement for interagency consultation. Id. §§ 1533(a)(3), (f),
   26   1538, 1536.
   27         40.     The ESA recognizes that federal agencies, such as DHS and CBP,
   28   have a critical role to play in meeting these statutory purposes.         The ESA
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    1   establishes that it is “the policy of Congress that all Federal departments and
    2   agencies shall seek to conserve endangered species and threatened species and
    3   shall utilize their authorities in furtherance of the purposes” of the ESA. Id. §
    4   1531(c)(1).
    5         41.     To implement this policy, Section 7(a)(1) of the ESA requires that
    6   “Federal agencies shall, in consultation with and with the assistance of [FWS],
    7   utilize their authorities in furtherance of the purposes of this Act by carrying out
    8   programs for the conservation of endangered species and threatened species.” Id.
    9   § 1536(a)(1).
   10         42.     In addition to this overarching mandate, the ESA requires that
   11   “[e]ach Federal agency shall, in consultation with . . . [FWS], insure that any
   12   action authorized, funded, or carried out by such agency . . . is not likely to
   13   jeopardize the continued existence of any endangered species or threatened
   14   species or result in the destruction or adverse modification of [critical habitat].”
   15   Id. § 1536(a)(2).
   16         43.     FWS’ regulations define an agency “action” to mean “all activities or
   17   programs of any kind authorized, funded, or carried out, in whole or in part, by
   18   Federal agencies.” 50 C.F.R. § 402.02 (2016).
   19         44.     Section 7(a)(2) contains both procedural and substantive mandates.
   20   Substantively, it requires that all federal agencies avoid actions that: (1) jeopardize
   21   listed species; or (2) destroy or adversely modify designated critical habitat.
   22   Procedurally, to ensure compliance with the substantive standards, the federal
   23   agency taking action and FWS take part in a cooperative analysis of potential
   24   impacts to listed species and their designated critical habitat known as the
   25   consultation process. 16 U.S.C. § 1536(a)(2). The consultation process has been
   26   described as the “heart of the ESA.”              Western Watersheds Project v.
   27   Kraayenbrink, 632 F.3d 472, 495 (9th Cir. 2011).
   28         45.     Through the formal Section 7 consultation process, FWS prepares a
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    1   “biological opinion” as to whether the action is likely to jeopardize the species or
    2   destroy or adversely modify critical habitat and, if so, suggests “reasonable and
    3   prudent alternatives” to avoid that result. 16 U.S.C. § 1536(b)(3)(A). During the
    4   consultation process, both agencies must “use the best scientific and commercial
    5   data available.” Id. § 1536(a)(2); 50 CFR § 402.14(d).
    6   C.    Freedom of Information Act
    7         46.    FOIA’s basic purpose is government transparency. It establishes the
    8   public’s right to access all federal agency records unless such records may be
    9   withheld pursuant to one of nine, narrowly construed FOIA exemptions. 5 U.S.C.
   10   § 552(b)(1)-(9).
   11         47.    FOIA imposes strict and rigorous deadlines on federal agencies when
   12   they receive a request for records pursuant to FOIA. Specifically, an agency must
   13   determine whether to disclose responsive records and notify the requester of its
   14   determination within 20 working days of receiving a FOIA request, and it must
   15   make records “promptly” available, unless it can establish that certain unusual
   16   circumstances are present and/or that it may lawfully withhold records, or portions
   17   thereof, from disclosure. Id. § 552(a)(3)(A), (a)(6). Also within 20 working days,
   18   the agency must inform the requester that it has a right to appeal the agency’s
   19   determination. Id. § 552(a)(6)(A)(i).
   20         48.    FOIA places the burden on the agency to prove that it may withhold
   21   responsive records from a requester. Id. § 552(a)(4)(B).
   22         49.    Congress has specified limited circumstances in which federal
   23   agencies may obtain more time to make the determination that is required by 5
   24   U.S.C. § 552(a)(6)(A)(i).
   25         50.    First, an agency may toll the 20-working-day deadline to seek
   26   additional information or clarification from a requester, but that tolling period
   27   ends when the agency receives such information or clarification.              Id. §
   28   552(a)(6)(A).
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    1         51.     Second, an agency may extend the 20-working-day deadline for an
    2   additional 10 working days by giving a written notice to the requester that sets
    3   forth “unusual circumstances” to justify a deadline extension, which also requires
    4   that it provide the date by which the agency expects to make the determination.
    5   Id. § 552(a)(6)(B)(i). However, to invoke such “unusual circumstances,” the
    6   agency must provide the requester with “an opportunity to limit the scope of the
    7   request so that it may be processed within [20 working days] or an opportunity to
    8   arrange with the agency an alternative time frame for processing the request or a
    9   modified request.” Id. § 552(a)(6)(B)(ii). In addition, when asserting unusual
   10   circumstances, the agency “shall make available its FOIA Public Liaison” to
   11   “assist in the resolution of any disputes between the requester and the agency.”
   12   Id.
   13         52.     FOIA requires each agency to make reasonable efforts to search for
   14   records in a manner that is reasonably calculated to locate all records that are
   15   responsive to the FOIA request. Id. § 552(a)(3)(C)-(D).
   16         53.     FOIA requires federal agencies to expeditiously disclose requested
   17   records, see id. § 552, and mandates a policy of broad disclosure of government
   18   records. Any inquiry under FOIA brings with it a strong presumption in favor of
   19   disclosure.
   20         54.     Congress recognized that in certain, limited instances, records may be
   21   withheld as exempt from FOIA’s broad disclosure mandate, and thus it created
   22   nine categories of exemptions. Id. § 552(b). These exemptions, however, are
   23   narrowly construed in light of FOIA’s dominant objective of disclosure, not
   24   secrecy.
   25         55.     The U.S. district courts have jurisdiction “to enjoin the agency from
   26   withholding agency records and to order the production of any agency records
   27   improperly withheld from the complainant.” Id. § 552(a)(4)(B).
   28         56.     Alternatively, an agency’s response to a FOIA request is subject to
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    1   judicial review under the APA, which confers a right of judicial review on any
    2   person who is adversely affected by an agency action, 5 U.S.C. § 702, and
    3   authorizes district courts to compel agency action that is unlawfully withheld or
    4   unreasonably delayed. Id. § 706(1). District courts must set aside any agency
    5   action that is found to be “arbitrary, capricious, an abuse of discretion or
    6   otherwise not in accordance with law.” Id. § 706(2)(A).
    7   D.      The Illegal Immigration Reform and Immigrant Responsibility Act of
    8           1996
    9           57.   Section 102 of the 1996 IIRIRA was the first legislative enactment
   10   under which Congress specifically authorized the Attorney General to construct
   11   “border barriers and roads.”1 P.L. 104-208, div. C., codified at 8 U.S.C. § 1103
   12   note.
   13           58.   Prior to IIRIRA’s enactment, USBP in 1990 (with the assistance of
   14   the U.S. Army Corps of Engineers and the National Guard) began constructing a
   15   border fence in the San Diego region, utilizing Army surplus carbon steel mats
   16   which were used as landing strips during the Vietnam War. The San Diego border
   17   fence—the first in history to be constructed along the U.S.-Mexico border (other
   18   than chain link)—was completed in 1993, beginning at the Pacific Ocean and
   19   running approximately 14 miles eastward to the Otay Mesa region.
   20           59.   The 1994 Border Patrol Strategic Plan: 1994 and Beyond,
   21   emphasized a “prevention through deterrence” strategy under which the agency
   22   1
          Prior to the September 11, 2001 terrorist attacks, the Attorney General was
   23   vested with the authority over immigration laws. The Attorney General had, in
        turn, delegated that authority to the Immigration and Naturalization Service
   24
        (“INS”) and its component agency U.S. Border Patrol (“USBP”), which were
   25   located within the Department of Justice. Pursuant to the Homeland Security Act
        of 2002, P.L. 107-296, DHS was created, the INS was abolished, and the INS
   26
        immigration functions, as well as its component agency USBP, were transferred to
   27   DHS. Under DHS, USBP became a component of the newly created agency CBP.
        IIRIRA section 102 was subsequently amended to substitute the DHS Secretary
   28
        for the Attorney General as having responsibility over border barriers and roads.
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    1   significantly increased agent numbers, deployed technological aids such as ground
    2   sensors and surveillance cameras, and proposed extensive construction of border
    3   fences, roads, and other border security infrastructure.
    4         60.     As part of the prevention through deterrence strategy, and in
    5   recognition that Congress had never provided INS and USBP with specific
    6   statutory authority to construct border barriers, Congress enacted IIRIRA in 1996.
    7   IIRIRA section 102, for the first time, provided INS and USBP with general
    8   authorization to build border barriers, as well as specific direction regarding the
    9   location and extent of specific border barriers to be constructed.
   10         61.     Amended several times, IIRIRA section 102 remains the primary
   11   federal statute addressing border barriers, pursuant to three primary provisions: (i)
   12   section 102(a) (providing general authority to construct border fences and other
   13   border barriers); (ii) section 102(b) (carrying out subsection (a), by providing
   14   specific mandates for border barrier construction, and the deadlines for such
   15   construction, among other requirements); and (iii) section 102(c) (legal waiver
   16   authority).
   17         62.     IIRIRA section 102(a), which remains substantively the same as
   18   originally enacted in 1996, provided the Attorney General (now the DHS
   19   Secretary) with the general authority to “take such actions as may be necessary to
   20   install additional physical barriers and roads . . . in the vicinity of the United
   21   States border to deter illegal crossings in areas of high illegal entry into the United
   22   States.”
   23         63.     IIRIRA section 102(b) “carr[ies] out subsection (a)” by identifying
   24   specific border barriers to be constructed, establishing specific deadlines for the
   25   construction of such barriers, and other requirements.
   26         64.     The only border fence segment initially mandated by Congress under
   27   IIRIRA section 102(b) was the construction of a double and triple layer border
   28   fence to further fortify the 14-mile long San Diego “primary” border fence that
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    1   was finished in 1993.
    2         65.    As originally enacted, IIRIRA section 102(c) stated that the
    3   provisions of NEPA and the ESA “[were] waived to the extent the Attorney
    4   General determines necessary to ensure expeditious construction of the barriers
    5   and roads under this section.” At the time of its enactment, the Department of
    6   Justice and INS opposed IIRIRA section 102(c) and established a policy not to use
    7   the waiver authority.    See March 6, 1997 Memorandum from INS Assistant
    8   Commissioner David Yentzer.
    9         66.    The IIRIRA Section 102(c) waiver modifier “under this section”
   10   refers to the specific border fencing required under IIRIRA section 102(b), which
   11   by its plain language “carries out” DHS’s general authority to “install additional
   12   physical barriers and roads” under IIRIRA section 102(a).          At the time of
   13   IIRIRA’s enactment, the specific border fencing directed under IIRIRA section
   14   102(b) was limited to the 14-mile double and triple layer San Diego border fence.
   15   E.    The 2005 REAL ID Act Amendments to IIRIRA Section 102(c)
   16         67.    Enacted in 2005 as an unrelated legislative rider to the “Emergency
   17   Supplemental Appropriations Act for Defense, the Global War on Terror, and
   18   Tsunami Relief, 2005,” section 102 of the REAL ID Act amended the section
   19   102(c) IIRIRA waiver provision.2     P.L. 109-13, div. B. Specifically, the REAL
   20   ID Act amendment expanded the IIRIRA section 102(c) waiver authority beyond
   21   NEPA and the ESA to permit the DHS Secretary “to waive all legal requirements
   22   such Secretary, in such Secretary’s sole discretion, determines necessary to ensure
   23   expeditious construction of the barriers and roads under this section.”
   24
        2
   25     It is a potentially confusing coincidence that section 102 of the REAL ID Act
        amended section 102 of the IIRIRA. The REAL ID Act addressed border
   26
        security, including the amendment to IIRIRA section 102(c), but its scope was
   27   much broader, consisting of four additional titles addressing: asylum and removal;
        drivers’ licenses; H-2B temporary worker provisions; and Australian E
   28
        nonimmigrant and EB-3 nurses visas.
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    1         68.     In addition, section 102 of the REAL ID Act amended the IIRIRA
    2   section 102(c) waiver authority to restrict judicial review in the following
    3   respects: purporting to limit “all causes or claims” arising from any waiver
    4   determination made by the DHS Secretary to alleged constitutional violations;
    5   requiring any such constitutional challenge to be filed not later than 60 days after
    6   the Secretary’s determination; and eliminating appellate court review of the
    7   district court’s decision on the alleged constitutional violations, instead only
    8   permitting review upon a writ of certiorari to the Supreme Court.
    9         69.     The REAL ID Act was introduced by Judiciary Chairman James
   10   Sensenbrenner in the House of Representatives on January 26, 2005, and assigned
   11   the bill number H.R. 418. Despite significant controversy concerning the section
   12   102 waiver provisions and numerous other provisions of H.R. 418, there were no
   13   Committee hearings held on the bill in either Chamber of Congress.
   14         70.     Two weeks after introduction, H.R. 418 was considered in the full
   15   House on February 9, 2005 (151 Cong. Rec. H453-471) and February 10, 2005
   16   (151 Cong. Rec. H527-566).
   17         71.     The REAL ID Act was never specifically considered in the Senate, as
   18   it was added to the Emergency Supplemental Appropriations Act during
   19   conference committee. As stated by one Senator, the bill “was simply grafted
   20   onto the emergency supplemental appropriations bill that provides funding for our
   21   military operations and our troops, without debate or participation by the
   22   conferees.”    151 Cong. Rec. S4820 (daily ed. May 10, 2005) (Statement of
   23   Senator Byrd).
   24         72.     Congress intended the REAL ID Act’s amendment and expansion of
   25   that 102(c) waiver authority, like the IIRIRA section 102(c) waiver authority as
   26   originally enacted in 1996, to apply to the specific border barrier and road
   27   requirements at IIRIRA section 102(b), which carries out the general border
   28   barrier authority at IIRIRA section 102(a). At that time, the only specific border
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    1   barriers required under section 102(b) remained the 14-mile San Diego double and
    2   triple layer fence proposals.
    3         73.    Congress’s intent that the expansion of the IIRIRA section 102(c)
    4   waiver authority under section 102 of the REAL ID Act continue to be limited to
    5   the specific border barriers mandated by IIRIRA section 102(b) is evidenced by
    6   the bill’s plain language, as well as statements by the bill’s author and co-sponsors
    7   during the limited House Floor debate.
    8         74.    Indeed, the bill’s official title made clear that Congress’s intent in
    9   expanding the IIRIRA section 102(c) waiver authority was specific to the border
   10   barrier segments identified under section 102(b): “To establish and rapidly
   11   implement regulations for State driver’s license and identification document
   12   security standards, to prevent terrorists from abusing the asylum laws of the
   13   United States, to unify terrorism-related grounds for inadmissibility and removal,
   14   and to ensure expeditious construction of the San Diego border fence.” (emphasis
   15   added).
   16         75.    The intended limitation of the IIRIRA section 102(c) waiver
   17   authority to the San Diego double and triple layered fence specified under IIRIRA
   18   section 102(b) was also repeatedly emphasized by the bill’s supporters on the
   19   House Floor. As stated by the bill’s author:
   20
                     [T]he REAL ID Act will waive Federal laws to the extent
   21                necessary to complete gaps in the San Diego border
                     security fence, which is still stymied 8 years after
   22                congressional authorization.
   23
   24   151 Cong. Rec. H454 (daily ed., Feb. 9, 2005)(Statement of Rep.
   25   Sensenbrenner)(emphasis added); see also Cong. Rec. H471 (“H.R. 418 provides
   26   the Secretary of Homeland Security with authority to waive environmental laws,
   27   so that the border fence running 14 miles east from the Pacific Ocean at San
   28   Diego may finally be completed.”) (daily ed., Feb. 9, 2005)(Statement of Rep.

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    1   Hoekstra)(emphasis added).
    2
        F.    The 2006 Secure Fence Act Amendments to IIRIRA Section
    3         102(b)
    4         76.    President George W. Bush signed the Secure Fence Act on October
    5   26, 2016. P.L. 109-367.
    6         77.    Section 3 of the Secure Fence Act (“Construction of Fencing and
    7   Security Improvements in Border Area from Pacific Ocean to Gulf of Mexico”)
    8   significantly expanded upon IIRIRA section 102(b) and its previous sole focus on
    9   the 14-mile San Diego double and triple layer fence construction. Under the
   10   Secure Fence Act amendments to IIRIRA section 102(b), Congress directed DHS
   11   to “provide for at least 2 layers of reinforced fencing [and] the installation of
   12   additional physical barriers, roads, lighting, cameras, and sensors” in five specific
   13   segments along the U.S.-Mexico border totaling approximately 850 miles.
   14   IIRIRA, former §102(b)(1)(A)(i)-(v). The required border barrier construction
   15   included one California segment, two Texas segments, one segment encompassing
   16   portions of both California and Arizona, and one segment encompassing portions
   17   of both New Mexico and Texas.
   18         78.    Section 3 further amended IIRIRA section 102(b) to add the specific
   19   requirement that two of these segments be considered “priority areas,” with
   20   construction deadlines of May 30, 2008 and December 31, 2008. Former IIRIRA
   21   § 102(b)(1)(B)(i)-(ii).3
   22         79.    Congress did not specifically consider the impact of the Secure Fence
   23   Act amendments on the scope of the IIRIRA section 102(c) waiver.
   24
        3
   25     In addition to its IIRIRA amendments, the Secure Fence Act directed the DHS
        Secretary to achieve and maintain operational control over the borders of the
   26
        United States [including the northern and coastal borders] through surveillance
   27   activities and physical infrastructure enhancements to prevent unlawful entry and
        facilitate CBP’s access to the borders. Pub. L. No. 109-367, § 3, codified at 8
   28
        U.S.C. § 1701 note.
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    1
        G.    The 2008 Consolidated Appropriations Act Amendments to IIRIRA
    2         Section 102(b)
    3         80.    Just over a year after enactment of the Secure Fence Act, President
    4   George W. Bush signed the 2008 Consolidated Appropriations Act on December
    5   26, 2007. P.L. 110-161, div. E.
    6         81.    Section 564 of the 2008 Consolidated Appropriations Act again
    7   amended section 102(b) of the IIRIRA to scale back DHS’s duties with respect to
    8   border barriers and roads as defined under the 2006 Secure Fence Act
    9   amendments. These modifications—which remain the law today—include: (1)
   10   eliminating the requirement that border barriers be built in any specific locations,
   11   and instead specifying that such barriers be placed “along not less than 700 miles
   12   of the southwest border where fencing would be most practical and effective”; (2)
   13   eliminating the requirement of double-layered fencing; and (3) amending the
   14   “priority areas” requirement to direct that DHS identify and construct 370 miles of
   15   border barriers by December 31, 2008. IIRIRA § 102(b)(1)(A)-(B).
   16         82.    The 2008 Appropriations Act also added a new consultation
   17   requirement to IIRIRA section 102(b), directing that DHS “shall consult with the
   18   Secretary of the Interior, the Secretary of Agriculture, States, local governments,
   19   Indian tribes, and property owners in the United States to minimize the impact on
   20   the environment, culture, commerce, and quality of life for the communities and
   21   residents located near the sites where” border barriers are constructed. IIRIRA §
   22   102(b)(1)(C).
   23                             FACTUAL BACKGROUND
   24
        A.    Past Construction of Border Barriers and Use of the Waiver Authority
   25         Under IIRIRA
   26         83.    Enabled by billions of dollars in Congressional appropriations, and in
   27   response to IIRIRA’s amendments by the 2005 REAL ID Act, 2006 Secure Fence
   28   Act, and 2008 Consolidated Appropriations Act, DHS has greatly increased the
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    1   extent of border barriers and roads along the U.S.-Mexico border.
    2         84.   In order to facilitate this extensive construction, during the George
    3   W. Bush Administration’s second term, former DHS Secretary Michael Chertoff
    4   published five “notices of determination” in the Federal Register that he was
    5   invoking the IIRIRA Section 102(c) authority to waive in their entirety a total of
    6   more than 35 laws that would have otherwise applied to construction of border
    7   fencing and roads. These waivers applied to border barrier and road construction
    8   in the following areas: (i) San Diego, 70 Fed. Reg. 55,622 (Sept. 22, 2005)(13.9
    9   miles); (ii) Barry M. Goldwater Range, Arizona, 72 Fed. Reg. 2,535 (Jan. 19,
   10   2007)(37.3 miles); (iii) San Pedro Riparian National Conservation Area
   11   (administered by U.S. Bureau of Land Management), Arizona, 72 Fed. Reg.
   12   60,870 (Oct. 26, 2007)(5.5 miles); (iv) Hidalgo County, Texas, 73 Fed. Reg.
   13   19,077 (April 3, 2008)(corrected on April 8, 2008)(21 miles); (v) Various Areas
   14   in Texas, New Mexico, Arizona, and California, 73 Fed. Reg. 18,293 (April 3,
   15   2008)(546.5 miles).
   16         85.   In all five of these determinations, the former DHS Secretary waived
   17   application of NEPA and the ESA. In addition to these laws, the former DHS
   18   Secretary waived application of the Clean Water Act, 33 U.S.C. § 1251 et seq.;
   19   National Historic Preservation Act, Pub. Law 89-665; Migratory Bird Treaty Act,
   20   16 U.S.C. § 703 et seq.; Clean Air Act, 42 U.S.C. § 7401 et seq.; Archeological
   21   Resources Protection Act, 16 U.S.C. § 470aa et seq.; Safe Drinking Water Act, 42
   22   U.S.C. § 300f et seq.; Wild and Scenic Rivers Act, 16 U.S.C. § 1281 et seq.;
   23   Wilderness Act, 16 U.S.C. § 1131 et seq.; National Forest Management Act, 16
   24   U.S.C. § 1600 et seq.; Native American Graves Protection and Repatriation Act,
   25   42 U.S.C. § 2000bb; and American Religious Freedom Act, 42 U.S.C. § 1996, as
   26   well as numerous additional laws.
   27         86.   Collectively, the five REAL ID Determinations waived laws that
   28   otherwise would have applied to approximately 624.5 miles of border barrier and
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    1   road construction.
    2         87.    Clearly, DHS has taken aggressive action to comply with Congress’s
    3   IIRIRA mandates, including the repeated use by former DHS Secretary Chertoff
    4   of the IIRIRA section 102(c) waiver to “ensure expeditious construction” of the
    5   specific barriers and roads mandated by IIRIRA section 102(b), which have been
    6   identified by Congress as necessary to carry out DHS’s general authority to
    7   construct border barriers and roads necessary to deter illegal crossing in areas of
    8   high illegal entry into the United States under IIRIRA section 102(a).
    9         88.    Consequently, DHS has met its statutory responsibilities to construct
   10   the specific “fencing and road improvements along the border” as currently
   11   defined by IIRIRA section 102(b).
   12         89.    As of February 2017, DHS has constructed 654 miles of “primary”
   13   border barriers and approximately 5,000 miles of roads along the U.S.-Mexico
   14   border. See “Southwest border security: Additional actions needed to better assess
   15   fencing’s contributions to operations and provide guidance for identifying
   16   capability gaps.” U.S. Government Accountability Office (“GAO”) Report 17-
   17   331, a report to congressional requesters (February 2017).
   18         90.    DHS has met its specific mandate to identify and construct 370 miles
   19   of border fencing in “priority areas . . . where fencing would be most practical and
   20   effective.” IIRIRA § 102(b)(1)(B).
   21         91.    DHS has also met its specific mandate to “construct reinforced
   22   fencing along not less than 700 miles of the southwest border where fencing
   23   would be most practical and effective.” IIRIRA § 102(b)(1)(A). In addition to the
   24   654 miles of primary fencing constructed by DHS, the agency has constructed an
   25   additional 37 miles of double-layered fencing and 14 miles of triple-layered
   26   fencing. In total, DHS has deployed a total of 705 miles of reinforced border
   27   fencing, exceeding the 700-mile minimum under IIRIRA section 102(b)(1)(A).
   28         92.    As summarized recently by the GAO:
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    1                From fiscal years 2005 through 2015, CBP increased the
                     total miles of primary border fencing on the southwest
    2                border from 119 miles to 654 miles—including 354 miles
    3                of primary pedestrian fencing and 300 miles of primary
                     vehicle fencing. With 654 miles of primary fencing
    4                currently deployed, CBP officials have stated that CBP is
                     in compliance with its legal requirements for the
    5                construction of the southwest border fencing on the
                     substantial discretion provided to the Secretary of
    6                Homeland Security to determine the appropriate
                     placement of fencing.
    7
    8   GAO Report, at p. 8.
    9
        B.    January 25, 2017 Executive Order 13767 (“Border Security and
   10         Immigration Enforcement Improvement”)
   11         93.    On January 25, 2017, President Donald J. Trump issued Executive
   12   Order No. 13767, entitled “Border Security and Immigration Enforcement
   13   Improvement” (“Executive Order”), which directed DHS to construct a “secure,
   14   contiguous, and impassable physical barrier” along the entirety of the nearly 2,000
   15   mile-long U.S.-Mexico border. The Executive Order defined “wall” to mean “a
   16   contiguous, physical wall or similarly secure, contiguous, and impassable physical
   17   barrier.”
   18         94.    On February 17, 2017, former DHS Secretary John Kelly issued a
   19   memorandum regarding “Implementing the President’s Border Security and
   20   Immigration Enforcement Improvements Policies” (“Kelly Memorandum”),
   21   which directed CBP to “immediately begin planning, design, construction, and
   22   maintenance of a wall, including the attendant lighting, technology (including
   23   sensors), as well as patrol and access roads, along the land border with Mexico in
   24   accordance with existing law . . . .” Further, the Kelly Memorandum directed the
   25   DHS Undersecretary for Management, in consultation with CBP, to “immediately
   26   identify and allocate all sources of available funding for the planning, design,
   27   construction, and maintenance of a wall . . . .”
   28
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    1   C.    Border Wall Prototype Project
    2        95.       In accordance with the Executive Order and the Kelly Memorandum,
    3   on March 17, 2017, DHS released two Requests for Proposals (“RFPs”)—one for
    4   a “Solid Concrete Border Wall Prototype” and the second for an “Other Border
    5   Wall Prototype.”      The “threshold requirements” for the two prototypes are
    6   identical, with the exception that the “other border wall prototype” does not have
    7   to be constructed of “reinforced concrete.” These contractual thresholds include
    8   requirements that the wall design “shall be physically imposing in height.” The
    9   government’s “nominal concept is for a 30-foot high wall,” and designs “with
   10   heights of less than 18 feet are not acceptable.” The RFPs further specify that the
   11   wall designs “shall prevent digging or tunneling below it for a minimum of 6 feet
   12   below the lowest adjacent grade,” “shall be constructible to slopes up to 45
   13   percent,” and shall be built in a manner that it would take at least an hour to
   14   breach with a “sledgehammer, car jack, pickaxe, chisel, battery operated impact
   15   tools, battery operated cutting tools, Oxy/acetylene torch or other similar hand-
   16   held tools.”
   17        96.       The 30-foot border wall envisioned under the Executive Order and
   18   called for under the RFP’s would significantly differ from existing border fencing
   19   and other border barriers with respect to height, construction materials, and
   20   permeability, and would pose distinct and additive environmental risks and harms.
   21        97.       Phase I of the RFPs required bidders to submit Concept Papers by
   22   April 4, 2017. Up to 20 bidders from Phase I could be invited to contract for
   23   participation in Phase II of the bidding process.
   24        98.       Phase II requires the Contractors to “provide for the design and
   25   construction of a full-scale prototype, which shall be 30 feet long, and “will be
   26   constructed at a location in San Diego, CA as determined by the Government.”
   27        99.       The border wall prototype project will be constructed on federally-
   28   owned land in San Diego, California, within the vicinity of Otay Mesa near the
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    1   base of the Otay Mountain Wilderness and the eastern terminus of existing
    2   secondary fencing within the approximately 14-mile long, westernmost segment
    3   of the current border fence beginning at the Pacific Ocean.
    4         100.   The Otay Mesa area, where the border wall prototype project will
    5   take place, is of high environmental and natural resources value. It contains
    6   several vernal pools—one of the most imperiled wildlife habitats in San Diego
    7   County—and designated critical habitat for numerous listed threatened and
    8   endangered species, including the Quino checkerspot butterfly and San Diego
    9   fairy shrimp, as well as habitat for non-listed sensitive and rare species, such as
   10   the burrowing owl.
   11         101.   On August 31, 2017, Acting CBP Deputy Commissioner Ronald
   12   Vitiello held a press briefing in which he announced that CBP had chosen four
   13   vendors to construct the “Solid Concrete Wall” prototypes, and that the agency
   14   would announce four additional vendors to construct the “Other Border Wall”
   15   prototypes at a later date.
   16   D.    San Diego County Border Wall Replacement Project
   17         102.   In addition to the border wall prototype project, Federal Defendants
   18   are implementing the Executive Order and the Kelly Memorandum through the
   19   proposed construction of a border wall to replace the existing 14-mile primary and
   20   secondary fencing in San Diego County. This construction has been described by
   21   Federal Defendants in various pronouncements and agency documents, including
   22   the March 2017 document, entitled “Building The Wall: The Strategy & Way
   23   Forward” (“Wall Strategy Document”), and the August 2, 2017 IIRIRA section
   24   102(c) determination by former DHS Secretary Kelly
   25         103.   The 14-mile San Diego border wall replacement project will likely
   26   impact numerous ESA-listed endangered and threatened species, and their
   27   designated critical habitat, including the arroyo toad, the California least tern, and
   28   the Southwestern willow flycatcher. The proposed 30-foot high replacement wall
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    1   is notably higher than the existing border fencing, and may be constructed of
    2   impermeable concrete, both of which would exacerbate environmental impacts of
    3   the existing border fencing.
    4        104.    Even though this region has already been heavily impacted by prior
    5   border fence construction and other activities and infrastructure, the border wall
    6   replacement project is a major construction project that poses significant
    7   additional threats to aquatic resources and other rare wildlife habitats, as well as
    8   the numerous endangered species and imperiled habitats that lie within the path of
    9   the wall. Some of these impacts could likely be avoided or mitigated by prior
   10   compliance with NEPA, the ESA, and other laws.
   11        105.    Federal Defendants have failed to comply with NEPA, the ESA, or
   12   other environmental laws for the border wall prototype project and border wall
   13   replacement project. Federal Defendants have also failed to fulfill their IIRIRA
   14   Section 102(b)(1)(C) consultation requirements.
   15        106.    As a consequence of Federal Defendants’ failure to provide for any
   16   public participation or consultation in their consideration and authorization of the
   17   border wall prototype project and border wall replacement project, the Center and
   18   other members of the public did not have any opportunity to obtain information
   19   about or provide input prior to approval of those projects.
   20
        E.    Prior IIRIRA Section 102(c) Waivers Are Inapplicable to the Border
   21         Wall Prototype Project and Border Wall Replacement Project
   22        107.    Former DHS Secretary Chertoff’s first use of the IIRIRA section
   23   102(c) waiver authority applied to the 14-mile border fence segment that would
   24   be replaced under the border wall replacement project. 70 Fed. Reg. 55,622 (Sept.
   25   22, 2005). As stated in that notice, former Secretary Chertoff determined that it
   26   was necessary to waive NEPA, ESA, and several other laws “with respect to the
   27   construction of the barriers and roads” associated with the 14-mile border fence.
   28        108.    As reflected in the language of the notice, the 2005 waiver applied to

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    1   the initial construction of the 14-mile border fence, not the border wall prototype
    2   project and border wall replacement project now proposed. The 2005 waiver
    3   cannot reasonably be interpreted to exempt compliance with the waived laws in
    4   perpetuity for subsequent work to maintain or repair the existing 14-mile border
    5   fence, or the construction of border wall prototypes, even if the footprint for those
    6   projects falls within the geographical boundaries of the 2005 waiver.
    7   F.    The August 2, 2017 IIRIRA Section 102(c) Waiver
    8        109.    On August 2, 2017, former DHS Secretary John Kelly issued a
    9   Determination in the Federal Register purporting to invoke IIRIRA section 102(c)
   10   in order to waive the application of NEPA, the ESA, and more than 30 additional
   11   laws not at issue in this lawsuit to “various border infrastructure projects” in the
   12   “project area,” which is defined as “an approximately fifteen mile segment of the
   13   border within the San Diego Sector that starts at the Pacific Ocean and extends
   14   eastward,” starting at “the Pacific Ocean and extending to approximately one mile
   15   east of Border Monument 251.” 82 Fed. Reg. 35,984-85.
   16        110.    The additional laws purportedly waived by the August 2, 2017
   17   determination are the: Clean Water Act, 33 U.S.C. § 1251 et seq.; National
   18   Historic Preservation Act, Pub. L. 89-665; Migratory Bird Treaty Act, 16 U.S.C. §
   19   703 et seq.; Clean Air Act, 42 U.S.C. § 7401 et seq.; Archaeological Resources
   20   Protection Act, 16 U.S.C. § 470aa et seq.; Paleontological Resources Preservation
   21   Act, 16 U.S.C. § 470aaa et seq.; Federal Cave Resources Protection Act of 1988,
   22   16 U.S.C. § 4301 et seq.; National Trails System Act, 16 U.S.C. § 1241 et seq.;
   23   Safe Drinking Water Act, 42 U.S.C. § 300f et seq.; Noise Control Act, 42 U.S.C.
   24   § 4901 et seq.; Solid Waste Disposal Act, as amended by the Resource
   25   Conservation and Recovery Act, 42 U.S.C. § 6901 et seq., and the Comprehensive
   26   Environmental Response, Compensation and Liability Act (Superfund), 42 U.S.C.
   27   § 9601 et seq.; Archaeological and Historic Preservation Act, 54 U.S.C. § 320301
   28   et seq.; Antiquities Act, 54 U.S.C. § 320301 et seq.; Historic Sites, Buildings, and
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    1   Antiquities Act, 54 U.S.C. § 3201-320303 & 320101-320106; Wild and Scenic
    2   Rivers Act, 16 U.S.C. § 1281 et seq.; Farmland Protection Policy Act, 7 U.S.C. §
    3   4201 et seq.; Coastal Zone Management Act, 16 U.S.C. § 1451 et seq.; Wilderness
    4   Act, 16 U.S.C. § 1131 et seq.; Federal Land Policy and Management Act, 43
    5   U.S.C. § 1701 et seq.; National Wildlife Refuge System Administration Act and
    6   National Wildlife Refuge System Improvement Act, 16 U.S.C. § 668dd-668ee;
    7   National Fish and Wildlife Act of 1956, 16 U.S.C. § 742a et seq.; Fish and
    8   Wildlife Coordination Act, 16 U.S.C. § 661 et seq.; Wild Horse and Burro Act,
    9   16 U.S.C. § 1331 et seq.; Pub. L. 106-398; Otay Mountain Wilderness Act of
   10   1999, Pub. L. 106-145; sections 102(29) and 103 of Title I of the California
   11   Desert Protection Act, Pub. L. 103-433; Rivers and Harbors Act of 1899, 33
   12   U.S.C. § 403; Eagle Protection Act, 16 U.S.C. § 668 et seq.; Native American
   13   Graves Protection and Repatriation Act, 25 U.S.C. § 3001 et seq.; American
   14   Indian Religious Freedom Act, 42 U.S.C. § 1996; and Religious Freedom
   15   Restoration Act, 42 U.S.C. § 2000bb.
   16        111.      The August 2, 2017 determination identifies specific projects within
   17   the broader “project area” as including both projects at issue in this litigation—the
   18   replacement of “existing primary fencing”, as well as “prototype border wall . . .
   19   near the eastern terminus of the existing secondary barrier.” 82 Fed. Reg. at
   20   35,985.
   21   G.   May 2, 2017 DHS and CBP FOIA Requests: Border Wall Prototype
   22        Project

   23        112.      In response to Federal Defendants’ failure and/or refusal to provide
   24   the Center or public generally with information regarding NEPA and other
   25   environmental compliance in relation to the border wall prototype project, on May
   26   2, 2017, the Center submitted via email a FOIA request to DHS for the following
   27   information:
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    1         1. All National Environmental Policy Act, 42 U.S.C. §§ 4321-
              4370h     (“NEPA”)     environmental     impact     statements,
    2         environmental assessments, categorical exclusions, and/or other
              NEPA analysis prepared for “prototype” border wall
    3         construction as part of the border wall request for proposal
              (“RFP”) process;
    4
              2. All other environmental analysis and/or compliance records
    5         prepared for prototype border wall construction, including but
              not limited to analysis conducted pursuant to the Endangered
    6         Species Act, 16 U.S.C. §§ 1531-1544 (“ESA”), Clean Water
              Act, 33 U.S.C. §§ 1251-1387 (“CWA”), and Coastal Zone
    7         Management Act, 16 U.S.C. 22 (“CZMA”); and
    8         3. All inter- and intra-agency correspondence records
              mentioning, referencing and/or including reference to
    9         compliance with environmental and/or all other applicable laws
              relevant to prototype border wall construction.
   10
   11        113.   In response, on May 2, 2017, DHS acknowledged the Center’s
   12   request and assigned it tracking number 2017-HQFO-00717 (“the DHS FOIA
   13   Request”). DHS also invoked a 10-working-day extension pursuant to 5 U.S.C. §
   14   552(a)(6)(B)(i) due to DHS’s claim that the DHS FOIA Request “seeks
   15   documents that will require a thorough and wide-ranging search.”
   16        114.   A determination on the DHS FOIA Request was due by June 14,
   17   2017, which is 30 working days after DHS’s acknowledgement of the DHS FOIA
   18   Request.
   19        115.   As of the date of the filing of this second amended complaint, which
   20   is past the 30-working-day deadline, DHS has not requested additional time to
   21   respond, provided any responsive records, or provided a determination in response
   22   to the DHS FOIA Request.
   23        116.   None of FOIA’s nine exemptions to the statute’s disclosure mandate
   24   apply to the records that are responsive to the DHS FOIA Request. Id. § 552(b).
   25        117.   On May 2, 2017, the Center submitted via email a FOIA request to
   26   CBP for the following records:
   27         1. All National Environmental Policy Act, 42 U.S.C. §§ 4321-
   28         4370h     (“NEPA”)     environmental     impact     statements,
              environmental assessments, categorical exclusions, and/or other
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              NEPA analysis prepared for “prototype” border wall
    1         construction as part of the border wall request for proposal
    2         (“RFP”) process;

    3         2. All other environmental analysis and/or compliance records
              prepared for prototype border wall construction, including but
    4         not limited to analysis conducted pursuant to the Endangered
              Species Act, 16 U.S.C. §§ 1531-1544 (“ESA”), Clean Water
    5         Act, 33 U.S.C. §§ 1251-1387 (“CWA”), and Coastal Zone
              Management Act, 16 U.S.C. 22 (“CZMA”); and
    6
              3. All inter- and intra-agency correspondence records
    7         mentioning, referencing and/or including reference to
              compliance with environmental and/or all other applicable laws
    8         relevant to prototype border wall construction.
    9        118.   In response, on May 2, 2017, CBP acknowledged the Center’s
   10   request and assigned it the tracking number CBP-2017-053692 (“the CBP FOIA
   11   Request”). On May 3, 2017, CBP sent the Center an automated notice stating that
   12   the “average time to process a FOIA request related to ‘travel/border incidents’ is
   13   a minimum of 3-6 months.” The notice failed to provide any completion date by
   14   which CBP is to provide the requested records.
   15        119.   A determination on the CBP FOIA Request was due by May 31,
   16   2017, which is 20 working days after CBP’s acknowledgement of the CBP FOIA
   17   Request.
   18        120.   As of the date of the filing of this second amended complaint, which
   19   is past the 20-working-day deadline, CBP has not requested additional time to
   20   respond, provided any responsive records, or provided a determination in response
   21   to the CBP FOIA Request.
   22        121.   None of FOIA’s nine exemptions to the statute’s disclosure mandate
   23   apply to the records that are responsive to the CBP FOIA Request. Id. § 552(b).
   24
   25
   26
   27
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    1                                CLAIMS FOR RELIEF
    2
                                  FIRST CLAIM FOR RELIEF
    3                                 Ultra Vires Violations
                      (August 2, 2017 IIRIRA Section 102(c) Determination)
    4                      (Facial Violation of IIRIRA Section 102(c))
    5        122.     Plaintiff incorporates by reference the allegations in all preceding
    6   paragraphs.
    7        123.     IIRIRA section 102(c) provides the DHS Secretary with “the
    8   authority to waive all legal requirements such Secretary, in such Secretary’s sole
    9   discretion, determines necessary to ensure expeditious construction of the barriers
   10   and roads under this section.”
   11        124.     The scope of the IIRIRA section 102(c) authority granted to the DHS
   12   Secretary to waive laws “under this section” is limited to the specific border
   13   barriers and roads required to be constructed pursuant to IIRIRA section 102(b).
   14   IIRIRA section 102(a) provides general authority to DHS to construct border
   15   barriers and roads in areas of high illegal entry into the United States, while
   16   IIRIRA section 102(b) identifies the specific “construction of fencing and road
   17   improvements along the border” necessary to “carry[] out subsection(a).”
   18        125.     At the time of the original 1996 enactment of IIRIRA, as well as its
   19   2005 amendment by section 102 of the REAL ID Act, the specific border barrier
   20   construction required under IIRIRA section 102(b) was limited to the San Diego
   21   14-mile double and triple layer border fence.
   22        126.     Congress subsequently amended IIRIRA section 102(b) under the
   23   2006 Secure Fence Act and 2008 Consolidated Appropriations Act. The 2006
   24   Secure Fence Act amended IIRIRA section 102(b) to require DHS to construct
   25   five specific segments of double-layered border fencing totaling approximately
   26   850 miles.      A year later, with the enactment of the 2008 Consolidated
   27   Appropriations Act, Congress again amended IIRIRA section 102(b) to its current
   28   version, which requires that DHS identify and construct 370 miles of border
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    1   barriers by December 31, 2008, and that the agency construct border barriers
    2   “along not less than 700 miles of the southwest border where fencing would be
    3   most practical and effective.”
    4         127. Congress has not amended the IIRIRA section 102(c) waiver since
    5   the 2005 REAL ID Act amendments, and did not discuss or consider the scope of
    6   the waiver during its deliberations or discuss how the existing 102(c) waiver
    7   authority would apply to the expanded scope of IIRIRA section 102(b) under the
    8   2006 Secure Fence Act and 2008 Consolidated Appropriations Act amendments.
    9         128. Nonetheless, former DHS Secretary Chertoff invoked IIRIRA section
   10   102(c) on five occasions to waive laws on the vast majority of the specific border
   11   barriers required under IIRIRA section 102(b) pursuant to Secure Fence Act and
   12   2008 Appropriations Act amendments.
   13         129. Former Secretary Chertoff’s expansion of the IIRIRA section 102(c)
   14   waiver authority beyond the San Diego double and triple layer fence proposal
   15   that was included in the original IIRIRA section 102(b) was not contested in
   16   previous litigation concerning the five waivers issued by the former Secretary.
   17   No court addressed whether the IIRIRA section 102(c) waiver authority was
   18   properly applied by former Secretary Chertoff to the greatly expanded scope of
   19   IIRIRA section 102(b) under the 2005 REAL ID Act amendments and 2008
   20   Consolidated Appropriations Act amendments.
   21         130. Even presuming that the section 102(c) waiver authority is applicable
   22   to the expansion of 102(b) specific border barrier mandates beyond the double
   23   and triple layer San Diego fence, DHS has now fulfilled its requirements under
   24   that subsection.
   25         131. Specifically, DHS has met its duty to identify and construct 370
   26   miles of border barriers within “priority areas” by December 31, 2008 as required
   27   by IIRIRA section 102(b)(1)(B), as well as its duty to construct a total of not less
   28   than 700 miles of border barriers as required by IIRIRA section 102(b)(1)(A).
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    1         132. Because the scope of the IIRIRA section 102(c) waiver is limited to
    2   the border barriers and road requirements specified by IIRIRA section 102(b), the
    3   requirements of which have already been fulfilled, the purported waiver of
    4   NEPA, the ESA, the APA, and more than 30 additional laws under Secretary
    5   Kelly’s August 2, 2017 Determination pursuant to IIRIRA section 102(c) is an
    6   unlawful ultra vires act subject to review by this Court, and the restrictions on
    7   judicial review and appellate review under that subsection are inapplicable to that
    8   determination.
    9         133.    Even in the event that the Court finds the IIRIRA section 102(c)
   10   waiver authority is not limited to the border barriers and road requirements
   11   specified by IIRIRA section 102(b), the purported waiver of laws under the
   12   August 2, 2017 IIRIRA section 102(c) Determination is nonetheless an unlawful
   13   ultra vires act subject to review by this Court for at least three additional reasons.
   14         134. First, the IIRIRA section 102(c) waiver authority, by its plain
   15   language, was intended to apply to the initial construction of border barriers, not
   16   the border wall replacement or the border wall prototype projects at issue in this
   17   litigation.
   18         135. Second, the purported waiver of laws by former DHS Secretary Kelly
   19   under the August 2, 2017 Determination does not contain any rationale
   20   demonstrating that the “approximately fifteen mile segment” of the San Diego
   21   border subject to the purported waiver is necessary to “deter illegal crossings in
   22   areas of high illegal entry into the United States,” as required by the general
   23   border barrier and road authorization at IIRIRA section 102(a). Indeed, the
   24   Determination does not contain any Findings specific to the fifteen mile segment
   25   of waived laws, but instead states in conclusory and circular fashion that the
   26   overall San Diego Sector “remains an area of high illegal entry.” 82 Fed. Reg. at
   27   35,985.
   28         136. If the San Diego border region at issue in the purported waiver does
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    1   indeed qualify as “an area of high illegal entry,” such a Finding would call the
    2   entire DHS border fencing and prevention through deterrence strategy into
    3   question, as DHS has expended more resources and constructed more intensive
    4   border barriers in this region than any other along the U.S.-Mexico border, and
    5   has already utilized the IIRIRA section 102(c) waiver authority to finish
    6   construction on the existing San Diego double and triple layer border fence. 70
    7   Fed. Reg. 55,622 (Sept. 22, 2005).
    8        137. Third, the purported waiver of laws by former DHS Secretary Kelly
    9   under the August 2, 2017 Determination cannot have been necessary to ensure
   10   the “expeditious” construction of the border wall prototype project and border
   11   wall replacement project at issue in this litigation.
   12        138. The IIRIRA section 102(c) waiver authority was enacted in 1996, and
   13   then significantly expanded by the 2005 REAL ID Act amendment. The IIRIRA
   14   section 102(c) waiver authority has not been further amended by Congress in the
   15   12 years since its 2005 consideration and enactment, despite the extensive
   16   amendments to IIRIRA section 102(b) by the 2006 Secure Fence Act and 2008
   17   Consolidated Appropriations Act.
   18        139. The plain meaning of broadly allowing the waiver of any laws
   19   determined by the DHS Secretary as necessary to ensure the “expeditious
   20   construction” under IIRIRA section 102(c) was to provide the DHS Secretary
   21   with the authority to waive laws in order to build border barriers as soon as
   22   possible after the law’s enactment (i.e. the 2005 REAL ID Act amendment).
   23   This interpretation is further supported by Congress’s subsequent establishment
   24   of specific deadlines in its amendments to IIRIRA section 102(b) under the 2006
   25   Secure Fence Act and 2008 Consolidated Appropriations Act; most notably, its
   26   direction that at least 370 miles of border barriers be constructed by December
   27   31, 2008, and its explicit termination of the Secretary’s authority to designate
   28   “priority areas” for such construction by that same date. IIRIRA § 102(b)(2)(A)-
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    1   (B).
    2          140. The purported August 2, 2017 waiver of laws under former DHS
    3   Secretary Kelly could only be lawful if the term “expeditious” was construed to
    4   permit DHS to apply such waivers in perpetuity, long after the deadlines set by
    5   the statute for the construction of any such barriers, and in relation to the
    6   construction of additional barriers that have not been specifically directed by
    7   Congress.
    8          141. Due to fact that the border wall prototype project and border wall
    9   replacement project are not subject to the scope of the IIRIRA section 102(c)
   10   waiver authority, former DHS Secretary Kelly’s purported waiver of laws under
   11   the August 2, 2017 Determination is an unlawful ultra vires act subject to review
   12   by this Court, and the restrictions on judicial review and appellate review under
   13   that subsection are inapplicable to that determination.
   14
   15                          SECOND CLAIM FOR RELIEF
                                    Constitutional Violation
   16             Violation of the Take Care Clause of the U.S. Constitution
   17                                 Article II, Section 3
                   (August 2, 2017 IIRIRA Section 102(c) Determination)
   18
   19          142. Plaintiff incorporates by reference the allegations in all preceding
   20   paragraphs.
   21          143. Under IIRIRA section 102(c), and subject to the ultra vires
   22   restrictions described in the First Claim for Relief, once the DHS Secretary
   23   invokes the waiver authority, the “only cause or claim” that may be brought
   24   arising from the waiver is one “alleging a violation of the Constitution of the
   25   United States.” IIRIRA section 102(c) further provides that “[t]he district courts
   26   of the United States shall have exclusive jurisdiction to hear all causes or claims
   27   arising from any” such action, which “shall be filed not later than 60 days after
   28   the date of action or decision” at issue.” IIRIRA § 102(c)(2)(A)-(C).
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    1         144. Article II of the U.S. Constitution provides that “The executive
    2   Power shall be vested in a President,” and that he or she “shall take Care that the
    3   Laws be faithfully executed.” U.S. Constitution Article II, § 3.
    4         145. Among the laws the Take Care Clause mandates be “faithfully
    5   executed” are NEPA and the ESA, as well as the conditions and limitations of
    6   IIRIRA section 102 itself. Among the conditions and limitations of IIRIRA
    7   section 102 are the limitations of barrier construction to areas of “high illegal
    8   entry” under subsection (a), the geographical and temporal restrictions for such
    9   construction, along with the requirements for consultation with affected entities
   10   under subsection (b), and the restriction on waiver authority under subsection (c)
   11   to the “expeditious construction of the barriers and roads” otherwise authorized
   12   by the statute.
   13         146. DHS Secretary Kelly’s purported waiver of NEPA, the ESA, the
   14   APA, and more than 30 additional laws under the August 2, 2017 Determination
   15   failed to comply with the laws that the Executive Branch is required to “faithfully
   16   execute.”
   17                           THIRD CLAIM FOR RELIEF
   18                               Constitutional Violation
                Violation of the Separation of Powers of the U.S. Constitution
   19
                                  (IIRIRA Section 102(c) and
   20               August 2, 2017 IIRIRA Section 102(c) Determination)
   21
   22         147. Plaintiff incorporates by reference the allegations in all preceding
   23   paragraphs.
   24         148. Article I, Section 1 of the United States Constitution directs that
   25   “[a]ll legislative Powers herein granted shall be vested in a Congress of the
   26   United States.”
   27         149. Article II, Section 1 of the Constitution directs that “[t]he executive
   28   Power shall be vested in a President of the United States of America.”
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    1        150. Under these constitutional provisions, Congress may not delegate
    2   legislative authority to an executive branch agency, or in the case of IIRIRA
    3   section 102(c), may not delegate legislative authority to an individual executive
    4   branch official.
    5        151. IIRIRA section 102(c) unconstitutionally delegates legislative powers
    6   to the DHS Secretary, an executive branch official, and unconstitutionally
    7   purports to exempt the Executive Branch from complying with its constitutional
    8   obligation to faithfully execute the laws.
    9        152. Former DHS Secretary John Kelly’s purported waiver of NEPA, the
   10   ESA, the APA, and more than 30 other laws in relation to “border infrastructure
   11   projects” within “an approximately fifteen mile segment” of the border within
   12   San Diego, 82 Fed. Reg. 35,984 (Aug. 2, 2017) is an unconstitutional exercise of
   13   legislative power by an executive branch official, and consequently violates the
   14   U.S. Constitution’s separation of powers and non-delegation requirements.
   15
                               FOURTH CLAIM FOR RELIEF
   16                               Constitutional Violation
   17            Violation of the Presentment Clause of the U.S. Constitution
                                      Article I, Section 7
   18                           (IIRIRA Section 102(c) and the
                    August 2, 2017 IIRIRA Section 102(c) Determination)
   19
   20        153. Plaintiff incorporates by reference the allegations in all preceding
   21   paragraphs.
   22        154. Article I, § 7 of the Constitution provides that any federal statute
   23   must pass both houses of Congress, and “before it become a Law, be presented to
   24   the President of the United States: If he approve he shall sign it, but if not he shall
   25   return it, with his Objections to that House it which it shall have originated, who
   26   shall enter the Objections at large on their Journal, and proceed to reconsider it.”
   27        155. The “[a]mendment and repeal of statutes, no less than enactment,”
   28   must conform with the presentment and bicameralism requirements of Article I.

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    1   INS v. Chadha, 462 U.S. 919, 954 (1983).
    2        156. The August 2, 2017 Determination by former DHS Secretary Kelly
    3   purported to waive NEPA, the ESA, the APA, and more than 30 other laws that
    4   would otherwise apply to border infrastructure projects, including the border wall
    5   prototype project and border wall replacement project at issue in this litigation.
    6        157. The IIRIRA section 102(c) waiver authority and former DHS
    7   Secretary     Kelly’s   August   2,   2017    Determination    are   unconstitutional
    8   infringements upon the lawmaking procedures required under Article I, § 7 of the
    9   Constitution.
   10
   11                        FIFTH CLAIM FOR RELIEF
                                   NEPA Violations
   12     (Border Wall Prototype Project and Border Wall Replacement Project)
   13        158. Plaintiff incorporates by reference the allegations in all preceding
   14   paragraphs.
   15        159. Federal Defendants are required to prepare an environmental impact
   16   statement (“EIS”) on major Federal actions “significantly affecting the quality of
   17   the human environment.” Robertson v. Methow Valley Citizen Council, 490 U.S.
   18   332, 348 (1989); 42 U.S.C. § 4332 (2)(C). A federal agency “bears the primary
   19   responsibility to ensure that it complies with NEPA.” ‘Ilio’Ulaokalani Coalition
   20   v. Rumsfeld, 464 F.3d 1083, 1092 (9th Cir. 2006). “When an agency decides to
   21   proceed with an action in the absence of an EA or EIS, the agency must
   22   adequately explain its decision.” Alaska Ctr. for Environment v. U.S. Forest
   23   Service, 189 F.3d 851, 859 (9th Cir. 1999).
   24        160. Federal Defendants have violated NEPA and NEPA’s implementing
   25   regulations by authorizing the border wall prototype project and border wall
   26   replacement project without first conducting the necessary environmental
   27   analysis of the impacts of the projects in an EA or EIS in light of the potentially
   28   significant impacts that each of the two projects will have.
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    1        161. Federal Defendants have further violated NEPA and NEPA’s
    2   implementing regulations by failing to initiate and complete NEPA at the earliest
    3   possible time in the planning process.
    4        162. Federal Defendants’ failure and/or refusal to conduct NEPA is
    5   inconsistent with provisions of the DHS NEPA Manual, including provisions
    6   requiring preparation of at least an EA when a proposed project may impact
    7   important environmental resources, and directing that NEPA shall be applied as
    8   early as possible in the planning process.
    9        163. Federal Defendants have failed to provide any explanation or
   10   reasoning for the failure to conduct any NEPA analysis for the border wall
   11   prototype project or border wall replacement project. This lack of explanation
   12   renders it impossible to determine if Federal Defendants have taken a “hard look”
   13   at the potential environmental consequences of the border wall prototype project
   14   or border wall replacement project, in violation of NEPA.
   15        164. Federal Defendants’ failure and/or refusal to prepare NEPA analysis
   16   for the border wall prototype project or border wall replacement project also
   17   renders it impossible for the Agencies to avoid and/or mitigate environmental
   18   impacts that would otherwise likely be identified through the NEPA process, in
   19   violation of NEPA.
   20        165. NEPA requires that the Agencies involve the public in preparing and
   21   considering environmental documents that implement the Act.          40 C.F.R. §
   22   1506.6 (1978); id. § 1506.6(b)(1) (requiring federal agencies to “[p]rovide public
   23   notice of NEPA-related hearings, public meetings, and the availability of
   24   environmental documents so as to inform those persons and agencies who may be
   25   interested or affected”).
   26        166. Federal Defendants have utterly failed and/or refused to involve the
   27   public in its decision-making processes for the border wall prototype project and
   28   border wall replacement project. Federal Defendants’ failure to provide for any
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    1   public participation in relation to their approval of the border wall prototype
    2   project and border wall replacement project violates NEPA and its implementing
    3   regulations.
    4          167. The border wall prototype project and border wall replacement
    5   project decisions are therefore arbitrary and capricious, an abuse of discretion,
    6   not in accordance with law, and without observance of procedure required by
    7   law, and are subject to judicial review pursuant to the APA, 5 U.S.C. §§ 702–
    8   704.
    9
                             SIXTH CLAIM FOR RELIEF
   10                               ESA Violations
   11     (Border Wall Prototype Project and Border Wall Replacement Project)

   12
   13          168. Plaintiff incorporates by reference the allegations in all preceding
   14   paragraphs.
   15          169. Section 7(a)(2) of the ESA requires that “[e]ach Federal agency shall,
   16   in consultation with . . . [FWS], insure that any action authorized, funded, or
   17   carried out by such agency . . . is not likely to jeopardize the continued existence
   18   of any endangered species or threatened species or result in the destruction or
   19   adverse modification of [critical habitat].” Id. § 1536(a)(2).
   20          170. FWS’s regulations define an agency “action” to mean “all activities
   21   or programs of any kind authorized, funded, or carried out, in whole or in part, by
   22   Federal agencies.” 50 C.F.R. § 402.02.
   23          171. The border wall prototype project and border wall replacement
   24   projects directly, indirectly, and cumulatively impact numerous species listed as
   25   threatened or endangered under the ESA, as well as designated critical habitat for
   26   many of those species.
   27          172. Despite the presence of many listed species, the documented impacts
   28   of DHS border barrier and road construction on many of these species, and the

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    1   significant number of species listings and critical habitat designations in the
    2   borderlands region, Federal Defendants have failed to initiate, reinitiate, or
    3   complete consultation with FWS in order to ensure that the border wall prototype
    4   project and border wall replacement project do not jeopardize the continued
    5   existence of any listed species or adversely modify or destroy the designated
    6   critical habitat for any of those species, in violation of Section 7(a)(2). 16 U.S.C.
    7   § 1536(a)(2).
    8        173. Federal Defendants have also failed to take any affirmative action to
    9   conserve the many threatened or endangered species impacted by the border wall
   10   prototype project and border wall replacement project, in violation of Section
   11   7(a)(1) of the ESA. 16 U.S.C. § 1536(a)(1).
   12
                            SEVENTH CLAIM FOR RELIEF
   13                              FOIA Violations
   14                         May 2, 2017 FOIA Requests
                 to DHS (2017-HQFO-00717) and CBP (CBP-2017-053692)
   15
   16        174. The Center re-alleges and incorporates by reference the allegations
   17   made in all preceding paragraphs.
   18        175. The Agencies failed to comply with the mandates of FOIA
   19   consequent to each Agency’s failure and refusal to: (1) search for and disclose
   20   records that are responsive to the respective FOIA requests; (2) make a timely
   21   and lawful determination on the respective FOIA requests; (3) conduct a search
   22   that is reasonably calculated to locate all records that are responsive to the
   23   respective FOIA requests; (4) provide Plaintiff with records that are responsive to
   24   the respective FOIA requests that may not be withheld pursuant to any of FOIA’s
   25   narrowly construed exemptions to mandatory disclosure; and (5) provide Plaintiff
   26   with reasonably segregable portions of records responsive to the respective FOIA
   27   requests which contains any material that may be lawfully withheld under an
   28   exemption(s).
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    1           176. Plaintiff has a statutory right to a lawful final determination from the
    2   Agencies on the FOIA requests in a manner that complies with FOIA. The
    3   Agencies have violated Plaintiff’s rights in this regard by unlawfully delaying
    4   their responses beyond the deadlines that FOIA mandates.                5 U.S.C. §
    5   552(a)(6)(A)(i).
    6           177. Based on the nature of Plaintiff’s organizational activities, it will
    7   undoubtedly continue to employ FOIA’s disclosure provisions in record requests
    8   to the Agencies in the foreseeable future.
    9           178. Plaintiff’s organizational activities will be adversely affected if the
   10   Agencies are allowed to continue violating FOIA’s provisions as they have in this
   11   case.
   12           179. Unless enjoined and made subject to a declaration of Plaintiff’s legal
   13   rights by this Court, the Agencies will continue to violate Plaintiff’s rights to
   14   receive public records under FOIA.
   15
                                             APA Violations
   16                          (In the Alternative to the FOIA Violations)
   17           180. Plaintiff re-alleges and incorporates by reference the allegations
   18   made in all preceding paragraphs.
   19           181. The Agencies violated FOIA’s statutory mandates due to each
   20   Agency’s failure and refusal to: (1) search for and disclose records that are
   21   responsive to the respective FOIA requests; (2) make a timely and lawful
   22   determination on the respective FOIA requests; (3) conduct a search that is
   23   reasonably calculated to locate all records that are responsive to the respective
   24   FOIA requests; (4) provide Plaintiff with records that are responsive to the
   25   respective FOIA requests that may not be withheld pursuant to any of FOIA’s
   26   narrowly construed exemptions to mandatory disclosure; and (5) provide Plaintiff
   27   with reasonably segregable portions of records responsive to the respective FOIA
   28   requests which contains any material that may be lawfully withheld under an
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    1   exemption(s). By repeatedly violating FOIA’s statutory mandates, the Agencies’
    2   actions are arbitrary, capricious, an abuse of discretion, or not in accordance with
    3   the law and therefore actionable pursuant to the APA, 5 U.S.C. § 706(2)(A).
    4   Alternatively, the Agencies’ failures constitute agency action unreasonably
    5   delayed and therefore actionable pursuant to the APA, 5 U.S.C. § 706(1).
    6            182. As alleged above, the Agencies’ failure to comply with the mandates
    7   of FOIA has injured Plaintiff’s interests in public oversight of governmental
    8   operations and is in violation of each Agency’s statutory duties under the APA.
    9            183. Plaintiff has suffered a legal wrong as a result of the Agencies’
   10   failure to comply with the mandates of FOIA. As alleged above, the Agencies
   11   violated their statutory duties under the APA and injured Plaintiff’s interests in
   12   public oversight of governmental operations.
   13            184. Plaintiff has no other adequate remedy at law to redress the violations
   14   noted above.
   15            185. Plaintiff is entitled to judicial review under the APA, 5 U.S.C. § 702.
   16                                 PRAYER FOR RELIEF
   17            WHEREFORE, Plaintiff Center for Biological Diversity prays that this
   18   Court:
   19            1.    Declare that Former DHS Secretary Kelly and Federal Defendants
   20   lacked the authority under IIRIRA section 102(c) to waive NEPA, the ESA, the
   21   APA, and other laws in the August 2, 2017 Determination Pursuant to Section
   22   102 of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996,
   23   As Amended, 82 Fed. Reg. 35,984.
   24            2.    Declare that the purported waiver pursuant to IIRIRA section 102(c)
   25   of NEPA, the ESA, the APA, and other laws in the August 2, 2017 Determination
   26   Pursuant to Section 102 of the Illegal Immigration Reform and Immigrant
   27   Responsibility Act of 1996, As Amended, 82 Fed. Reg. 35,984, violates the U.S.
   28   Constitution’s Take Care Clause.
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    1         3.     Declare that the purported waiver pursuant to IIRIRA section 102(c)
    2   of NEPA, the ESA, the APA, and other laws in the August 2, 2017 Determination
    3   Pursuant to Section 102 of the Illegal Immigration Reform and Immigrant
    4   Responsibility Act of 1996, As Amended, 82 Fed. Reg. 35,984, violates the U.S.
    5   Constitution’s fundamental Separation of Powers principles.
    6         4.     Declare that the purported waiver pursuant to IIRIRA section 102(c)
    7   of NEPA, the ESA, the APA, and other laws in the August 2, 2017 Determination
    8   Pursuant to Section 102 of the Illegal Immigration Reform and Immigrant
    9   Responsibility Act of 1996, As Amended, 82 Fed. Reg. 35,984, violates the U.S.
   10   Constitution’s Presentment Clause.
   11         5.     Set aside and declare null and void former DHS Secretary Kelly’s
   12   purported waiver pursuant to IIRIRA section 102(c) of NEPA, the ESA, the APA,
   13   and other laws in the August 2, 2017 Determination Pursuant to Section 102 of
   14   the Illegal Immigration Reform and Immigrant Responsibility Act of 1996, As
   15   Amended, 82 Fed. Reg. 35,984, due to the ultra vires nature of that Determination.
   16         6.     Set aside and declare null and void the waiver of laws authority
   17   contained in IIRIRA section 102(c) due to its constitutional infirmities.
   18         7.     Declare that Federal Defendants have violated NEPA and its
   19   implementing regulations with respect to the border wall prototype project and/or
   20   the border wall replacement project by, inter alia, failing to conduct any NEPA
   21   analysis, by failing to provide any opportunity for public participation, and by
   22   failing to take a “hard look” at the potential environmental impacts of the border
   23   wall prototype project and/or border wall replacement project.
   24         8.     Declare that Federal Defendants violated the ESA by failing to
   25   initiate or complete ESA section 7(a)(2) consultation with FWS in order to ensure
   26   that the border wall prototype project and border wall replacement project do not
   27   jeopardize the continued existence of any listed species or adversely modify or
   28   destroy the designated critical habitat for those species.
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    1         9.      Declare that Federal Defendants violated the ESA by failing to take
    2   any affirmative action to conserve threatened or endangered species impacted by
    3   the border wall prototype project and border wall replacement project, in violation
    4   of section 7(a)(1) of the ESA.
    5         10.     Enjoin Federal Defendants from implementing the border wall
    6   prototype project or border wall replacement project, until and unless Federal
    7   Defendants comply with NEPA, the ESA, and the implementing regulations for
    8   those laws.
    9         11.     Declare that Federal Defendants unlawfully failed to timely make
   10   determinations on the FOIA Requests, failed to properly apply FOIA exemptions,
   11   failed to undertake a search for and disclose to Plaintiff all records that are
   12   responsive to the FOIA Requests, and failed to provide Plaintiff with reasonably
   13   segregable portions of records which may be lawfully subject to a FOIA
   14   exemption, and Order Federal Defendants to conduct searches that are reasonably
   15   calculated to locate all records responsive to the FOIA Requests, with the cut-off
   16   date for such searches being the date that the searches are conducted, and to
   17   provide Plaintiff without charge all responsive records and reasonably segregable
   18   portions of lawfully exempt records sought in this action by a reasonable date
   19   certain.
   20         12.     Retain jurisdiction in this action to ensure compliance with the
   21   Court’s Orders.
   22         13.     Award Plaintiff its reasonable costs of litigation, including
   23   reasonable attorneys’ fees and costs, pursuant to the Equal Access to Justice Act,
   24   28 U.S.C. § 2412, and/or FOIA 5 U.S.C. § 552(a)(4)(E), and/or other authority;
   25   and
   26         14.     Grant such other and further relief as the Court may deem just and
   27   proper.
   28
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    1   DATED: September 6, 2017         Respectfully submitted,
    2
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    1                              CERTIFICATE OF SERVICE
    2   I hereby certify that on September 6, 2017, I electronically filed Plaintiff’s Second
    3   Amended Complaint for Declaratory and Injunctive relief with the Clerk of the Court
    4   using the CM/ECF system, which will send notification of such to the attorneys of
    5   record.
    6
    7                                          s/ Brian Segee

    8                                          Brian Segee

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